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                     IN THE DISTRICT COURT OF THE UNITED STATES
                         FOR THE DISTRICT OF SOUTH CAROLINA
                                 GREENWOOD DIVISION


UNITED STATES OF AMERICA,            )              Criminal No.: 8:19-00181
                                     )
v.                                   )
                                     )
Detric Lee McGowan,                  )
                                     )
____________________________________ )

     BRADY REQUEST MOTION FOR THE PRODUCTION AND INSPECTION OF
       EVIDENCE AND INFORMATION WHICH MAY LEAD TO EVIDENCE

       You will please take notice that as legal counsel for the Defendant, Detric Lee McGowan,

I am requesting, under the authority of Brady v. Maryland, 373 V.S. 83 (1963); Napue v. Illinois,

360 U.S. 364 (1959); Alcorta v. Texas, 355 U.S 28 (1957); Mooney v. Holohan, 294 U.S.103

(1935); Giglio v. U.S., 405 U.S. 150 (1972); and Moore v. Illinois, 408 U.S. 86 (1972), that your

office supply to me, or make available for inspection, all evidence which may be favorable to the

Defendant with regard to the offense with which he has been charged. The Defendant is

requesting access to such favorable information as is in your custody as well as that being held

by investigating officers or agencies. Such information would include but would not be confined

to, the following:

       1.      All written and verbal statements of the Defendant, whether signed or unsigned;

       2.      All written and verbal statements made by witnesses or any other persons,

               whether signed or unsigned, which relate to this case;

       3.      All tape recordings made by witnesses or any other persons in connection with

               this case;
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 4.    Any and all written reports to the State Law Enforcement Division (SLED)

       Criminalistics Laboratory; Federal Bureau of Investigation Laboratories; City of

       Greenville Police Department Criminalistics Identification personnel, or any other

       Law Enforcement Agencies concerning an examination made by said laboratories

       and/or personnel thereof, of any physical, photographic, or written evidence

       concerned with the investigation of this case;

 5.    Photographs of latent fingerprints found at the scene, and latent fingerprints

       discovered and lifted at the scene of the incident, or upon any objects alleged to

       have been used in the crime alleged; any written reports of comparisons made;

       and also any copies of fingerprints in your possession of the alleged victim and

       his/her family;

 6.    Any and all photographs taken of the Defendant on any portion of his/her body.

 7.    Any and all photographs taken at the scene of the alleged crime and /or the victim,

       or otherwise relating to this case;

 8.    Photographs that have been exhibited to any person for the purpose of

       establishing the identity of the perpetrator of the crime charged and the name and

       addresses of the person(s) to whom the photographs were shown;

 9.    Handwritten notes or memoranda of same made by police or other investigating

       officers of their conversations with the Defendant;

 10.   Handwritten notes made by police or other investigating officers of their

       conversation or interviews with witnesses;

 11.   All transcripts made of tape-recorded statements made by the accused and by

       potential prosecution witnesses, as well as any handwritten notes;
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 12.   Names and addresses of all witnesses having knowledge of the offense charged

       who have been interviewed by any Government and/or law enforcement agency,

       including the United States Attorney’s Office, its investigators, its staff or the

       investigating officers, whether subpoenaed or not, in the crime charged;

 13.   In addition to the criminalistics report requested in Paragraph 4 above, a copy of

       the crime report, together with copies of all reports written by officers

       investigating the crime involved in the above entitled action;

 14.   Right to inspect and/or copy or photograph all items of any kind and nature seized

       and removed as a result of any search of the Defendant and/or Co-Defendants, if

       any or any vehicle associated with the alleged crime;

 15.   Names and addresses of any persons interviewed by the United States Attorney’s

       Office, its investigators or agents, or any other law enforcement agency known to

       the United States Attorney or his representatives in relation to this case;

 16.   Record of arrests and convictions of any (all Defendants) and all witnesses named

       pursuant to Paragraph 13 above, furnished to the investigating or prosecuting

       agency by the FBI or any other law enforcement agency known to the Solicitor or

       his representatives in relation to this case;

 17.   All notes or memoranda, by police officers or other investigating officers of their

       conversations with persons who appeared before any Grand Jury proceedings in

       connection with this case, or personnel the Government expects to or has called

       before any such Grand Jury proceeding;
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 18.    All notes or memoranda by police officers, investigating officers, and

        psychiatrists or other connected medical and mental health examiners, of their

        conversations with the Defendant;

 19.    Autopsy reports and pathologist’s reports to include any and all photographs of

        the remains or any portion thereof; patient records provided to the pathologists;

        histolocial reports; toxicological studies; hospital admission records; emergency

        room records (including notations as to any medications administered as well as

        resuscitative measures instituted, if any);

 20.    All reports from the State Law Enforcement Division, Sheriff’s Office, or any

        other law enforcement agency, including Federal Bureau of Investigation,

        concerning fingerprints checked in connection with this case; and

 21.    Any physical or tangible item in the possession of the U.S. Attorney’s Office,

        which may be relevant to the guilt or innocence of this Defendant.                Any

        criminalistics reports or results of tests performed upon items within this

        paragraph requested in Paragraph 4 above.

        Recognizing that Brady v. Maryland, supra, and other authorities cited require

 that only information favorable to the Defendant be made available, and further

 recognizing that a genuine disagreement may arise as to whether or not a particular item

 of evidence is favorable, it will be requested that the Court Order provide for an in

 camera inspection of the items sought to be discovered should you feel that such items

 are not favorable to the Defendant. By permitting the Court to examine the items

 requested, the legitimate interests of the State will be protected in that no disclosure in

 excess of Brady, et al, will occur. Further, it will be requested of the Court that said Order
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       will be a continuing one, providing that in the event any items sought to be discovered

       herein become available subsequent to the making of the Order pursuant to this Motion,

       said items will be made available to the Defendant’s attorney forthwith if discovered

       during trial, or no later than 12:00 Noon on the first Court day following its acquisition if

       discovered before trial.

              The purposes of said Motion is to enable the Defendant herein to properly prepare

       for the examination of any witnesses who may testify in this case. Defendant would

       show that the failure to produce any of the foregoing evidence or information by the law

       enforcement agency involved would result in a violation of the Fifth, Sixth, and

       Fourteenth Amendments of the Federal Constitution of the United States.


                                              Respectfully submitted,


                                              /s/ Ryan L. Beasley
                                              Ryan L. Beasley, #9162
                                              Ryan L. Beasley, P.A.
                                              416 East North Street
                                              Greenville, S.C. 29601
                                              T: (864) 679-7777 F: (864) 362-8341
                                              rlb@ryanbeasleylaw.com

November 13, 2019
Greenville, South Carolina
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                    IN THE DISTRICT COURT OF THE UNITED STATES
                        FOR THE DISTRICT OF SOUTH CAROLINA
                                GREENWOOD DIVISION


UNITED STATES OF AMERICA,            )                Criminal No.: 8:19-00181
                                     )
v.                                   )
                                     )
Detric Lee McGowan,                  )
                                     )
____________________________________ )


   MOTION FOR DISCOVERY AND INSPECTION OF DOCUMENTS PURSUANT TO
                  FEDERAL CRIMINAL RULES, RULE 16

        COMES NOW the Defendant, Detric Lee McGowan, through his undersigned counsel, who

respectfully moves this Court, pursuant to Rule 16, Federal Rules of Criminal Procedure, to issue an

Order requiring that the U.S. Attorney’s Office permit the Defendant's counsel to inspect, copy,

photograph, or subject to scientific analysis the following information or evidence in the possession

or control of the State:

        1.      Any and all statements, confessions, or admissions made by the Defendant or any

                other Defendant in this case, whether written or otherwise recorded or oral

                statements;

        2.      Any and all prior criminal records of the Defendant;

        3.      Any and all tangible objects and documents or portions thereof which the

                Government may use as evidence at the trial of this case or which were taken from

                the Defendant; and

        4.      Any and all results or reports of physical or mental examinations and of scientific

                tests or experiments which the Government may use at the trial of this case.
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       This motion requests disclosure of information and/or evidence permitted by and within

the scope of Rule 16 and prays reference to that Rule in its entirety and incorporates the same

verbatim by this reference.


                                           Respectfully submitted,


                                           /s/ Ryan L. Beasley
                                           Ryan L. Beasley, #9162
                                           Ryan L. Beasley, P.A.
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November 13, 2019
Greenville, South Carolina
